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10
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11   California Department of Fair Employment and Housing
12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN JOSE DIVISION
15
     CALIFORNIA DEPARTMENT OF FAIR                       Case No. 5:20-cv-04374-EJD
16   EMPLOYMENT AND HOUSING, an agency of
     the State of California,                            PLAINTIFF DFEH’S NOTICE OF
17                                                       VOLUNTARY DISMISSAL WITHOUT
                                           Plaintiff,    PREJUDICE
18
                           vs.
19
     CISCO SYSTEMS, INC., a California
20   Corporation; SUNDAR IYER, an individual;
     RAMANA KOMPELLA, an individual,
21
                                        Defendants.
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           Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc., et al., Case No. 5:20-cv-04374-EJD
           PLAINTIFF DFEH’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                 Case 5:20-cv-04374-EJD Document 19 Filed 10/16/20 Page 2 of 3



 1          TO THE HONORABLE COURT, ALL PARTIES AND COUNSEL: Plaintiff Department of

 2   Fair Employment and Housing, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily

 3   dismisses this entire case. Such dismissal shall be without prejudice, with each side to bear its own costs

 4   and fees.

 5   Dated: October 16, 2020                              CALIFORNIA DEPARTMENT OF FAIR
                                                          EMPLOYMENT AND HOUSING
 6

 7                                                        /s/ Melanie L. Proctor
                                                          MELANIE L. PROCTOR
 8                                                        Attorneys for California Department of Fair
                                                          Employment and Housing
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           Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc., et al., Case No. 5:20-cv-04374-EJD
           PLAINTIFF DFEH’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
               Case 5:20-cv-04374-EJD Document 19 Filed 10/16/20 Page 3 of 3



 1                                      DECLARATION OF SERVICE

 2          I, the undersigned, hereby declare:

 3          I am over eighteen years of age and not a party to the within cause. My business and mailing

 4   address is 2218 Kausen Drive, Suite 100, Elk Grove, CA 95758.

 5          On October 16, 2020, I served the following document(s) by U.S. Mail:
                •   PLAINTIFF DFEH’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT
 6
                    PREJUDICE
 7          In the matter of DFEH v. Cisco Systems, Inc., Case No. 5:20-cv-04374-EJD to the person(s)
 8   listed below at the following address(es):
 9
        Lynn C. Hermle                                  Alexander Hernaez
10      Carolina Garcia                                 Fox Rothschild LLP
        Joseph C. Liburt                                345 California Street, Suite 2200
11      Orrick Herrington & Sutcliffe LLP               San Francisco, CA 94104
        1000 Marsh Road
12      Menlo Park, CA 94025                            (Attorneys for Defendants, Sundar Iyer and
                                                        Ramana Kompella.)
13
        (Attorneys for Defendant, Cisco Systems,
14      Inc.)

15

16

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18
            I declare under penalty of perjury under the laws of the United States that the foregoing is true
19
     and correct.
20
            Executed on October 16, 2020, at Elk Grove, Sacramento County, California.
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22                                                        ________________________
                                                          IVA TOWNSEL
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           Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc., et al., Case No. 5:20-cv-04374-EJD
           PLAINTIFF DFEH’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
